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  9   Attorneys for Defendant LoanCare, LLC
 10                       UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA
 11                      WESTERN DIVISION – LOS ANGELES
 12   ANDREA S. SANDERS, an individual,           Case No.2:18-cv-09376 SJO(RAOx)
 13
                                                  The Honorable Judge S. James Otero
 14
 15                Plaintiff,                     Superior Court of California,
                                                  County of Los Angeles
 16
      v.                                          Case No. BC723967
 17
    LOANCARE, LLC, a Virginia limited             AMENDED DEFENDANT’S
 18
    liability company; CIT BANK, N.A., a          NOTICE OF REMOVAL TO
 19 Delaware corporation; and DOES 1-50,          FEDERAL COURT
    inclusive,
 20
                                                  (Diversity Jurisdiction – Class Action
 21                Defendants.                    Fairness Act)
 22
            In accordance with Paragraph 18 of the Standing Order for Civil Cases
 23
      Assigned to Judge S. James Otero (Dkt. 10),1 Defendant LoanCare, LLC,
 24
      (“LoanCare”) respectfully files this Amended Defendant’s Notice of Removal to
 25
      Federal Court together with the Declaration Of Carline Warren In Support Of
 26
      Amended Defendant’s Notice Of Removal To Federal Court (“Warren Declaration”).
 27
 28
      1
 29
        This amendment is made timely within fifteen days from the date the action was
      assigned to Judge Otero, which was November 5, 2018.
 30
                                              1
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  1                                          INTRODUCTION
  2           On November 2, 2018, LoanCare filed its Defendant’s Notice of Removal
  3
      (Dkt 1, 1-1, 1-2) which removed this action from the Superior Court of California for
  4
      the County of Los Angeles, to this Court, the United States District Court of the
  5
      Central District of California in the Western Division – Los Angeles. Removal is
  6
      based on 28 U.S.C. §§ 1332(d) (the Class Action and Fairness Act), 1441(b), 1446,
  7
      and 1453.
  8
                                   STATEMENT OF JURISDICTION
  9
      Removal is Timely; All Required Process/Pleadings Have Been Filed In This
 10   Court; Notice Has Been Given
 11
              1.     On or about October 3, 2018, Plaintiff Andrea S. Sanders (“Plaintiff”)
 12
      commenced an action in the Superior Court of California, County of Los Angeles
 13
      styled Andrea S. Sanders, an individual v. LoanCare, LLC, a Virginia limited liability
 14
      company; CIT Bank, N.A., a Delaware corporation; and Does 1-50, inclusive, Case
 15
      No: BC723967 by filing a Complaint.2 (Warren Declaration at ¶ 3.)
 16
              2.     Generally, Plaintiff Andrea S. Sanders alleges that she represents three
 17
      classes of California residents who she alleges were improperly charged “Special
 18
      Request Fees,” in violation of California law. (Complaint at ¶ 29.) As alleged, these
 19
      are really one class and two subclasses. (See id.) Plaintiff alleges claims for
 20
      (1) violation of the Rosenthal Fair Debt Collection Practices Act; (2) violation of
 21
      Unfair Competition Law; and (3) Breach of Contract. (Complaint at First, Second,
 22
      and Third Causes of Action).
 23
              3.     The Complaint and Summons were served on LoanCare on October 4,
 24
      2018. (Warren Declaration at ¶ 4.) The Defendant’s Notice of Removal was timely
 25
      filed within the period required under 28 U.S.C. ¶ 1446.
 26
              4.     Pursuant to 28 U.S.C. §1441(a), a copy of all process and pleadings
 27
      served upon Defendant LoanCare was attached to Defendant’s Notice of Removal to
 28
 29   2
          LoanCare reserves all defenses and objections to Plaintiff’s Complaint.
 30
                                                   2
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  1   Federal Court. The Complaint and Summons were attached as Exhibits A and B to
  2   Defendant’s Notice of Removal to Federal Court (Dkt. 1) and appear on this Court’s
  3
      docket as Dkt. 1-1 and Dkt. 1-2. Further, pursuant to 28 U.S.C. §1446(d), a copy of
  4
      Defendant’s Notice of Removal was served upon Plaintiff’s counsel and a copy was
  5
      filed with the Clerk of the Superior Court of the State of California, Los Angeles
  6
      County.
  7
      CAFA Removal Does Not Require Consent
  8
            5.     Because removal is pursuant to 28 U.S.C. ¶ 1332(d), the consent of the
  9
      other defendant in this case is not required. See United Steel v. Shell Oil Co., 549
 10
      F.3d 1204, 1208 (9th Cir. 2008) (citing 28 U.S.C. §1453(b) [class “action may be
 11
      removed by any defendant without the consent of all defendants”]).
 12
      Venue is Proper in This Court
 13
            6.     The Superior Court of California for the County of Los Angeles is
 14
      located within the Central District of California in the Western Division – Los
 15
      Angeles. 28 U.S.C. § 84(c)(2). Therefore, venue for the removal is proper because
 16
      this is the “district and division embracing the place where such action is pending.”
 17
      28 U.S.C. §1441(a).
 18
      The CAFA Requirements For Removal Are Satisfied
 19
            7.     This matter is removable because this honorable Court has original
 20
      jurisdiction over this action and removal is appropriate pursuant to the Class Action
 21
      Fairness Act of 2005, Pub. L. No. 109-2, 119 Stat. 4 (codified in scattered sections of
 22
      28 U.S.C.) (“CAFA”).
 23
            8.     Pursuant to 28 U.S.C. § 1332(d), district courts have original jurisdiction
 24
 25
      over class actions where the class has a minimum of 100 members, the primary

 26
      defendants are not “States, State officials, or other governmental entities against

 27   whom the district court may be foreclosed from ordering relief,” and “the matter in

 28   controversy exceeds the sum or value of $5,000,000.00, exclusive of interest and

 29   costs, and is a class action in which (A) any member of a class of plaintiffs is a

 30
                                                  3
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  1   citizen of a State different from any defendant.” CAFA also permits a class’s
  2 damages to be aggregated to determine whether the amount in controversy is
  3
      sufficient. 28 U.S.C. § 1332(d)(6). Class actions that meet those requirements are
  4
      removable under 28 U.S.C. ¶ 1453(b).
  5
            9.     This matter is removable under CAFA because (a) the putative classes
  6
      contain more than 100 class members, (b) neither defendant nor the primary
  7
      defendant, LoanCare, are “States, State officials, or other governmental entities
  8
      against whom the district court may be foreclosed from ordering relief,” (c) the
  9
      amount in controversy exceeds the value of $5,000,000, exclusive of costs and
 10
      interest, and (d) any member of a class of plaintiffs is a citizen of a State different
 11
      from any defendant.
 12
            The Size of the Putative Class Exceeds CAFA’s 100-Member Minimum
 13
            10.    First, the putative classes have a minimum of 100 members. Plaintiff
 14
      alleges that the fees at issue “are applied to all of the thousands of California
 15
      residential mortgages LoanCare services.” (Complaint at ¶ 25.) Plaintiff seeks to
 16
      represent all California residents who from October 3, 2014 forward—i.e., a period of
 17
      four years—were charged the challenged fees without authorization. (Complaint
 18
      ¶¶ 29-30). Plaintiff alleges there are “numerous victims” and that “[t]he Classes’
 19
      members are so numerous that joinder of each individual class member would be
 20
      impracticable and unfeasible.” (Complaint ¶¶ 6, 32.) Given Plaintiffs’ allegations of
 21
      thousands of impacted mortgages over a period of four years throughout the State of
 22
      California, the putative classes meet the requirement of having a minimum of 100
 23
      members. Additionally, LoanCare’s business records reflect that for the four-year
 24
 25
      period prior to the filing of the Complaint, LoanCare collected Special Request Fees

 26
      in connection with residential mortgage loans for properties in California from more

 27   than 100 persons. (Warren Declaration at ¶10.)

 28
 29
 30
                                                   4
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  1         No State, State Official, Nor Other Governmental Entity is a Primary
  2         Defendant
  3         11.    Second, neither defendant is a State, State official or other governmental
  4   entity against whom the district court may be foreclosed from ordering relief. See 28
  5   U.S.C. § 1332(d)(5); Warren Declaration at ¶ 8. Plaintiff does not make any
  6   allegation to the contrary.
  7         The Amount in Controversy Satisfies or Exceeds CAFA’s $5 Million
  8         Requirement
  9         12.    Third, while LoanCare denies the allegations contained in the Complaint
 10   and denies that Plaintiff or any putative class member is entitled to any monetary
 11   relief, the amount in controversy satisfies the jurisdictional threshold because
 12   Plaintiff seeks—and a fact-finder legally might award—aggregate damages in excess
 13   of the $5 million amount-in-controversy requirement, exclusive of interest and costs.
 14   See 28 U.S.C. § 1332(d)(2), (d)(6).
 15         13.    For its first cause of action, Plaintiff alleges that LoanCare is a debt
 16   collector who “willfully and knowingly with the purpose of coercing Plaintiff” within
 17   the meaning of Cal. Civ. Code § 1788.30(b). (Complaint ¶49.) Plaintiff alleges that
 18   she was charged Special Request Fees of $10.00 each in June, July, and August 2018.
 19
      (Complaint ¶7.) Plaintiff seeks $30 in actual damages plus a statutory penalty of $100
 20
      to $1,000, for a total individual recovery of potentially $130 to $1,030. (Complaint
 21
      ¶¶7, 49-50). Plaintiff also alleges that the LoanCare Class and LoanCare Elder Abuse
 22
      Class may recover the lesser of $500,000 or 1% of LoanCare’s net worth under the
 23
      FDCPA’s “penalty provisions.” (Complaint ¶50.) Further, Plaintiff alleges that
 24
      LoanCare is statutorily liable for attorneys’ fees. (Complaint ¶51.) Plaintiff also
 25
      alleges that any damages awarded to the “LoanCare Elder Abuse Class” should be
 26
      statutorily trebled. (Complaint ¶52.)
 27
            14.    For its second cause of action, Plaintiff also seeks class-wide recovery
 28
      for the LoanCare Class and the LoanCare Elder Abuse Class under California’s
 29
      Unfair Competition Law, Cal. Bus & Prof. Code § 17200, et. seq. (“the UCL”).
 30
                                                  5
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  1   (Complaint ¶56.) Under the UCL, Plaintiff seeks class-wide restitution, an injunction
  2   against LoanCare’s “Special Request Fees,” and attorneys’ fees and costs.
  3
      (Complaint ¶60.)
  4
            15.    For its third cause of action, Plaintiff seeks class-wide recovery on
  5
      behalf of the CIT Class for breach of contract based on any “Special Request Fees
  6
      paid to LoanCare.” (Complaint ¶68.)
  7
            16.    Plaintiff alleges that the fees at issue “are applied to all of the thousands
  8
      of California residential mortgages LoanCare services.” (Complaint at ¶ 25.) The
  9
      Complaint alleges that the “‘Class Period’ dates back four years . . . from the date this
 10
      action was commenced and continues through the present and the date of judgment.”
 11
      (Complaint ¶30).
 12
            17.    LoanCare’s records reflect that for the four-year period prior to the filing
 13
      of the Complaint, October 3, 2014 through October 3, 2018, LoanCare collected in
 14
      excess of $5 million in Special Request Fees in connection with residential mortgage
 15
      loans for properties in California. (Warren Declaration at ¶ 10.)
 16
            18.    Plaintiff’s claim for (a) a statutory penalty for Plaintiff ($100-$1000),
 17
      (b) a statutory penalty for the putative classes (the lesser of $500,000 or 1% of
 18
      LoanCare’s net worth), and (c) trebling only adds to the amount in controversy. The
 19
      potential amount of the alleged statutory penalty and trebling need not be calculated
 20
      given that the Special Request Fees at issue exceed over $5 million.
 21
            19.    Likewise, Plaintiff’s statutory claim for attorneys’ fees only adds to the
 22
      amount in controversy. (Fritsch v. Swift Transp. Co. of Ariz., LLC, 899 F.3d 785,794
 23
      (9th Cir. 2018) [“a court must include future attorneys’ fees recoverable by statute or
 24
 25
      contract when assessing whether the amount-in-controversy requirement is met”]).

 26
      For example, in a recent collective action, Plaintiff’s counsel sought a fee award of

 27   $2,289,085.50. (See Boconvi v. Velocity Express, LLC, No. 17-CV-02623-JST) 2018

 28   WL 2248988, at *2 (N.D. Cal., May 17, 2018). In a recent class action, the court

 29   awarded Plaintiff’s counsel $7,353,093.47 for attorneys’ fees and expenses (not

 30
                                                  6
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  1   costs). (Etter v. Thetford Corporation, No. SACV1300081JLSRNB, 2017 WL
  2   1433312, at *7 (C.D. Cal., Apr. 14, 2017). Plaintiff’s counsel here will presumably
  3
      seek similar a seven-figure fee award. Even assuming, hypothetically, a 25% fee
  4
      award, here, where Special Request Fees sought exceed $5 million, any fee award
  5
      would only make the amount in controversy well exceed $5 million (e.g., 25% of $5
  6
      million is $1.25 million).
  7
            20.    The foregoing figures do not include the value of Plaintiff’s claim for a
  8
      class-wide injunction, which also increases the amount in controversy. (Tuong Hoang
  9
      v. Supervalu Inc., 541 F. App’x 747, 748 (9th Cir. 2018) [“[t]he value of the request
 10
      injunction against Defendants would not be ‘recovered’ by Plaintiffs yet the value of
 11
      such an injunction is part of the amount that has been put in controversy by Plaintiffs’
 12
      complaint”].) Any valuation placed on the requested injunction would only make the
 13
      amount in controversy well exceed $5 million.
 14
            21.    Accordingly, given that Plaintiff alleges a class of potentially thousands
 15
      of members seeking to recover in excess of $5 million in Special Request Fees during
 16
      the Class Period as well as alleged statutory penalties, trebling, attorneys’ fees, and
 17
      an injunction, Plaintiff seeks—and a fact-finder legally might award—aggregate
 18
      damages in excess of the $5 million amount-in-controversy requirement.
 19
            CAFA’s Requirement of Minimal Diversity Is Satisfied
 20
            22.    Fourth, the minimal diversity required by CAFA exists here because
 21
      “any member of a class of plaintiffs is a citizen of a State different from any
 22
      defendant.” See 28 U.S.C. § 1332(d)(2).
 23
                   a.     CIT Bank. Plaintiff alleges that Defendant CIT Bank, N.A. is a
 24
 25
            citizen of California. (Complaint ¶¶ 11; 15.)

 26
                   b.     LoanCare. Plaintiff alleges that LoanCare is a “limited liability

 27         company incorporated in Virginia” and does not allege LoanCare’s citizenship.

 28         (Complaint ¶ 10.) As set forth herein, unlike CIT Bank, LoanCare is not a

 29
 30
                                                  7
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  1         citizen of California.3 (Warren Declaration at ¶ 7.) LoanCare is a limited
  2         liability company, whose sole member is ServiceLink NLS, LLC. (Id. at ¶ 6.)
  3
            ServiceLink NLS, LLC’s sole member is ServiceLink Holdings, LLC. (Id.)
  4
            ServiceLink Holdings, LLC has a majority member, ServiceLink Holdings,
  5
            Inc., a Delaware corporation with a principal place of business in Florida. (Id)
  6
            ServiceLink Holdings, LLC has minority members. (Id.) They are:
  7
                         1)    THL Equity Fund VI Investors (BKFS) III, L.P., a
  8
                  Delaware limited partnership with its principal place of business in
  9
                  Massachusetts, is owned (100%) by a Japanese bank with its principal
 10
                  place of business in Japan. The specific identity of the bank is subject to
 11
                  a confidentiality provision.
 12
                         2)    THL Equity Fund VI Investors (BKFS-LM), LLC, a limited
 13
                  liability company with its principal place of business in Massachusetts,
 14
                  is owned by six corporations. The specific identity of the members is
 15
                  subject to confidentiality obligations. However, two of those
 16
                  corporations are Wisconsin corporations, two are Massachusetts
 17
                  corporations, and two are New Hampshire corporations. Each of the six
 18
                  corporations has its principal place of business in Massachusetts.
 19
                         3)    THL Equity Fund VI Investors (BKFS-NB), LLC, a
 20
                  Delaware limited liability company with its principal place of business
 21
                  in Massachusetts is solely owned by a Wyoming limited partnership
 22
                  with its principal place of business in New York. The Wyoming limited
 23
                  partnership is owned (99%) by its limited partner, a Wyoming entity,
 24
 25
                  and is owned (1%) by its general partner, a Wyoming limited liability

 26
                  company that is indirectly controlled by a Delaware corporation with its

 27               principal place of business in New York. The specific identity of the

 28
      3
 29
        “[A]n LLC is a citizen of every state of which its owners/members are citizens.”
      (Johnson v. Columbia Properties Anchorage, LP, 437 F.3d 894 (9th Cir. 2006).)
 30
                                                 8
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  1                 members is subject to confidentiality obligations.
  2                        4)     THL Investors Black Knight II (A) Holding Corp., a
  3
                    Delaware corporation with its principal place of business in
  4
                    Massachusetts.
  5
                           5)     THL Investors Black Knight II (B) Holding Corp., a
  6
                    Delaware corporation with its principal place of business in
  7
                    Massachusetts.
  8
                           6)     THL Black Knight II (A) Holding Corp., a Delaware
  9
                    corporation with its principal place of business in Massachusetts.
 10
                           7)     THL Black Knight II (B) Holding Corp., a Delaware
 11
                    corporation with its principal place of business in Massachusetts.
 12
                           8)     THL Black Knight II (C) Holding Corp., a Delaware
 13
                    corporation with its principal place of business in Massachusetts.
 14
                           9)     THL Black Knight II (D) Holding Corp., a Delaware
 15
                    corporation with its principal place of business in Massachusetts.
 16
                           10)    THL Black Knight II (E) Holding Corp., a Delaware
 17
                    corporation with its principal place of business in Massachusetts.
 18
      (Id.)
 19
                    c.     Plaintiff and the Putative Classes. Plaintiff fails to allege her
 20
              citizenship or the citizenship of any putative class members. Instead, she
 21
              alleges that she is a resident of California. (Complaint ¶9 [“Sanders is, and at
 22
              all times mentioned herein was, an individual residing in the State of
 23
              California”].) Likewise, Plaintiff alleges that the respective classes include
 24
 25
              “[a]ll California residents” who have certain characteristics wholly unrelated to

 26
              citizenship. (Complaint ¶29(A), (B) [emphasis added].) Even if Plaintiff had

 27           pleaded her citizenship, she can only be a citizen of one state and LoanCare

 28           and CIT Bank, N.A., are citizens of different states from each other.

 29           Accordingly, Plaintiff cannot have the same citizenship of two distinctly

 30
                                                   9
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  1         situated defendants and therefore CAFA’s minimal-diversity requirement is
  2         satisfied because a member of the alleged class of plaintiffs is necessarily a
  3
            citizen of a State different from at least one defendant.
  4
  5
            Plaintiffs Incorrectly Allege That There is No Federal Jurisdiction Under
  6         CAFA
  7         23.    Plaintiff incorrectly alleges that there is no federal jurisdiction under
  8   CAFA because (1) all Class members are residents of California, (2) CIT is a citizen
  9   of California, (3) the principal injuries occurred in California, and (4) no other class
 10   action has been filed in the past three years asserting the same or similar factual
 11
      allegations. (Complaint at ¶ 15.) Plaintiffs have not established any exception to
 12
      CAFA jurisdiction.
 13
            The “Local Controversy” Exception, 28 U.S.C. §1332(d)(4)(A), Does Not
 14         Apply
 15         24.    If Plaintiff made the allegations of the Complaint at ¶ 15 in an attempt to
 16   meet the requirements of 28 U.S.C. §1332(d)(4)(A) which governs when a court shall
 17   decline to exercise CAFA jurisdiction, Plaintiff fails to satisfy that statute. All
 18   elements of the local controversy exception must be established for the exception to
 19
      apply. (Chalian v. CVS Pharmacy, Inc., No. CV 16-08979 –AB (AGRx), 2017 WL
 20
      1377589, *3 (C.D. Cal. Apr. 11, 2017).) If Plaintiff fails to prove any single element,
 21
      the exception does not apply. (Id). Here, Plaintiff fails to establish at least three
 22
      elements.
 23
            25.    First, Plaintiff has not established that greater than two-thirds of the
 24
      members of all proposed plaintiff classes in the aggregate are citizens of California.
 25
      28 U.S.C. §1332(d)(4)(A)(i)(I). Plaintiffs allege that all putative class members are
 26
      “residents” of California. (Complaint at ¶ 15.). While she alleges CIT is a citizen of
 27
      California, Plaintiff does not allege of what states she or any of the class members are
 28
      “citizens.” (See id.) Plaintiff specifically made her allegation in an attempt to defeat
 29
      federal jurisdiction so she had every reason to be precise in her pleading and she
 30
                                                  10
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  1   expressly distinguished between Plaintiffs as “residents” of California and CIT as a
  2   “citizen” of California. Allegations of residence in California do not establish
  3
      citizenship in California and it is citizenship that determines jurisdiction.
  4
      (Mondragon v. Capital One Auto Fin., 736 F.3d 880, 883 (9th Cir. 2013); King v.
  5
      Great American Chicken Corp., 903 F.3d 875, 879 (9th Cir. 2018) [even stipulations
  6
      regarding last-known addresses did not satisfy plaintiff’s burden of proof regarding
  7
      class citizenship].) Citizenship cannot just be inferred from allegations of residence.
  8
      (See, e.g., id. at [district court could not infer California citizenship for class defined
  9
      as “persons that purchased and registered a car in California during the class
 10
      period”].) Having alleged that Plaintiff and the putative class members are residents,
 11
      the classes would include residents who are not California citizens, such as military,
 12
      students, second-home owners, other temporary residents, or even non- U.S. citizens
 13
      because having “a residential address in California does not mean that person is a
 14
      citizen of California.” (See Mondragon, 736 F.3d at 884.) And because “the proposed
 15
      class reaches back … four years before the filing of the complaint… at least some
 16
      purchasers who were California citizens at the time of [fee payment] subsequently
 17
      moved to other states, such that they were not California citizens as of [removal
 18
      date.]” (Id.) That one may be a resident of California with a residential mortgage but
 19
      not be a California citizen is beyond dispute and a matter of judicial notice. For
 20
      example, data from the United States Census Bureau for the 2000 census counts
 21
      239,062 housing units in California as “seasonal, recreational, or occasional use,”
 22
      also known as “vacation homes.” See
 23
      https://www.census.gov/hhes/www/housing/census/historic/vacation.html (last
 24
 25
      viewed Nov. 12, 2018). And, the Legislative Analyst’s Office, which provides fiscal

 26
      and policy advice to the California Legislature, has reported on “Vacation Homes

 27   Becoming More Common in Many Parts of California.” (See Warren Declaration at

 28 Ex. 1.) As another example, in a July 18, 2017 article, the Los Angeles Times
 29 reported that “California made up 12% of foreign-purchased homes by dollar
 30
                                                   11
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  1   volume….Foreign buyers in California purchased $35 billion worth of properties, up
  2   from $27 billion a year earlier.” ( Id. at Ex. 2.) And more than 3.4 million
  3
      undocumented immigrants in the United States are homeowners, according to a
  4
      Migration Policy Institute analysis of U.S. census data from the pooled 2012-16
  5
      American Community Survey and the 2008 Survey of Income and Program
  6
      Participation. (See https://www.migrationpolicy.org/data/unauthorized-immigrant-
  7
      population/state/US (last viewed on November 12, 2018).) In California, there are
  8
      “an estimated 2.3 million immigrants without legal authorization” according to a
  9
      October 7, 2017 news report. (See https://www.foxnews.com/us/ice-to-california-no-
 10
      choice-but-to-arrest-illegal-immigrants-despite-sanctuary-state-legislation (last
 11
      viewed November 12, 2018).) Thus, the alleged Class of “residents” includes persons
 12
      who are not California citizens and Plaintiffs fail to establish that greater than two-
 13
      thirds of the members of the proposed classes are citizens of California. Having
 14
      alleged that Plaintiff and the putative class members are “residents,” Plaintiffs are not
 15
      permitted to amend their complaint to change the class definitions to include only
 16
      California “citizens” to defeat removal. (Broadway Grill, Inc. v. Visa Inc., 856 F.3d
 17
      1274, 1277-78 (9th Cir. 2017).)
 18
            26.    Second, Plaintiff has not established that at least one defendant is a
 19
      defendant “(aa) from whom significant relief is sought by members of the plaintiff
 20
      class; (bb) whose alleged conduct forms a significant basis for the claims asserted by
 21
      the proposed plaintiff class; and (cc) who is a citizen of” California. 28 U.S.C.
 22
      §1332(d)(4)(A)(i)(II). The only defendant alleged to be a citizen of California is CIT
 23
      Bank. (Complaint at ¶ 15.) However, Plaintiff’s allegations establish that Plaintiff
 24
 25
      does not seek significant relief from CIT Bank and CIT Bank’s alleged conduct does

 26
      not form a significant basis for the claims asserted by the proposed plaintiff class. For

 27   example, LoanCare is named first in the caption as the primary defendant. The

 28   Complaint challenges “LoanCare’s [alleged] scheme… to nickel-and-dime

 29   borrowers with illegal transaction fees.” (Complaint ¶ 2.) LoanCare is alleged to

 30
                                                 12
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  1   work with various lenders, only one of whom is CIT Bank. (Id.) CIT Bank is not
  2   alleged to have any direct role in creating or implementing the alleged scheme. (See
  3
      Complaint.) Two of the three causes of action relate solely to LoanCare and assert
  4
      Plaintiff’s main claims under the Rosenthal Act and the UCL. Only one claim is
  5
      against CIT Bank—for alleged breach of contract—and that claim is derivatively
  6
      based on LoanCare’s conduct. Plaintiff alleges CIT Bank breached a contract with
  7
      her “by, through its agent LoanCare, assessing a Special Request Fee” and “by hiring
  8
      LoanCare” to service her loan. (Complaint ¶¶ 65, 66.) While Plaintiff alleges three
  9
      classes, they are really (a) one class against LoanCare and (b) two subclasses, one
 10
      against LoanCare and one against CIT Bank. (Complaint at ¶ 29.) Accordingly,
 11
      because LoanCare is alleged to work with multiple lenders, the CIT Bank subclass is
 12
      necessarily smaller than the primary class against LoanCare. Plaintiff’s Prayer for
 13
      Relief confirms that Plaintiff could obtain complete relief for her alleged harm
 14
      through a suit against LoanCare alone, without ever having sued CIT Bank.
 15
      (Complaint at Prayer for Relief.) Indeed, the breach of contract relief sought from
 16
      CIT Bank pales in comparison to the relief sought from LoanCare under the UCL and
 17
      the California and Federal debt collection statutes. (Id.) And, finally, it is worth
 18
      noting that the word “LoanCare” is used 91 times in the Complaint and “CIT” only
 19
      42. Accordingly, the Complaint shows that CIT Bank is not a defendant from whom
 20
      significant relief is sought and whose alleged conduct forms a significant basis for the
 21
      claims asserted.4 (Cf., e.g., Kearns v. Ford Motor Co., No. CV 05-5644 GAF(JTLX))
 22
      2005 WL 3967998, at *11 (C.D. Cal., Nov. 21, 2005) [defendant Ford-dealer not
 23
      considered “significant” under this prong where defendant Ford was the one alleged
 24
 25
      4
 26   Although the Complaint does assert a claim against CIT Bank, it is apparent from
    Plaintiff’s allegation that CAFA does not apply that Plaintiff added CIT Bank as a
 27
    California-citizen-defendant in an attempt to preclude federal jurisdiction. A “non-
 28 diverse defendant who has been fraudulently joined may be disregarded for diversity
 29
    jurisdiction purposes.” (Rangel v. Bridgestone Retail Operations, LLC, 200 F. Supp.
    3d 1024, 1030 (C.D. Cal. 2016).)
 30
                                                  13
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  1   to have promulgated and overseen an alleged fraud and defendant Ford-dealer was
  2   one of many dealers, including non-parties, who were role players].)
  3
            27.    Third, Plaintiff has not established that principal injuries resulting from
  4
      the alleged conduct or any related conduct of each defendant were incurred in
  5
      California. 28 U.S.C. §1332(d)(4)(A)(i)(III). The Complaint recognizes that both CIT
  6
      Bank—a national association—and LoanCare—alleged to be based in Virginia—
  7
      operate in states other than California. (Complaint ¶¶ 10, 11.) And, indeed, it is a
  8
      judicially noticeable fact that each operates nationally. (See, e.g.,
  9
      https://www.bankoncit.com/ [offering online bank];
 10
      https://www.loancareservicing.com/ [describing LoanCare as “a top national
 11
      subservicer”]). See also Warren Declaration. at ¶ 9. Accordingly, there is nothing
 12
      inherently localized about the challenged practices. (Id.) CAFA’s legislative history
 13
      provides that a case that challenges “conduct [which] could be alleged to have injured
 14
      customers throughout the country or broadly through several states . . . would not
 15
      qualify for [the local controversy] exception even if it were brought only as a single-
 16
      state class action.... In other words, this provision looks at where the principal injuries
 17
      were suffered by everyone who was affected by the alleged conduct-not just where
 18
      the proposed class members were injured.” (Kearns, 2005 WL 3967998 at *12; see
 19
      also Waller v. Hewlett-Packard Co., 11cv0454-LAB (RBB), 2011 WL 8601207 at *4
 20
      (S.D. Cal. May 10, 2011) [“The local controversy exception applies to controversies
 21
      that are truly local”; holding because the product was sold nationwide and the claims
 22
      were in no way unique to California the dispute was not local]; Villalpando v. Exel
 23
      Direct Inc., C-12-04137 JCS, 2012 WL 5464620 at *12 (N.D. Cal. Nov. 8, 2012)
 24
 25
      [dispute against nationwide employer did not satisfy local controversy exception;

 26
      “There is nothing unique to California about the claims asserted in this action, even if

 27   the class is limited to Plaintiffs who provide delivery services in California and the

 28   claims in the action are based on California law.”].) Accordingly, where the principal

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  1   injuries alleged are not limited to California, the Local Controversy Exception of 28
  2   U.S.C. §1332(d)(4)(A) does not apply. (Kearns, 2005 WL 3967998, at *12.)
  3
            The “Home State Controversy” Exception, 28 U.S.C. §1332(d)(4)(B), Does
  4         Not Apply
  5         28.    If Plaintiff made the allegations of the Complaint at ¶ 15 in an attempt to
  6   meet the requirements of 28 U.S.C. §1332(d)(4)(B) which also governs when a court
  7   shall decline to exercise CAFA jurisdiction, Plaintiff fails to satisfy that statute. The
  8   home state controversy exception requires that Plaintiff establish that both two-thirds
  9   or more of the members of all proposed plaintiff classes and the primary defendants
 10   are citizens of California. (See Kearns, 2005 WL 3967998 at *8 [finding that the
 11
      home state controversy exception does not apply where plaintiff failed to establish
 12
      either requirement].)
 13
            29.    As set forth above with respect to §1332(d)(4)(A), Plaintiff has not
 14
      established the citizenship of putative class members and, thus, has not established
 15
      that two-thirds or more of the members of all proposed plaintiff classes in the
 16
      aggregate are citizens of California. (See Paragraphs 22.c. and 25, supra.)
 17
      Additionally, Plaintiff does not establish, as she must, that all primary defendants are
 18
      citizens of California. (Corsino v. Perkins & Marie Callendar’s, Inc., No. CV 09-
 19
      09031 MMM (CWx), 2010 WL 317418, *5 (C.D. Cal. Jan. 19, 2010)(collecting
 20
      cases); Marino v. Countrywide Fin. Corp., 26 F.Supp.3d 949, 954 (C.D. Cal.
 21
      2014)[finding remand not warranted under home state controversy exception where
 22
      one primary defendant was not a California citizen].) To the contrary, the primary
 23
      defendant, LoanCare, is not a citizen of California so the home state controversy
 24
      exception cannot apply. (See Paragraph 22.b., supra; see, e.g., Kearns, 2005 WL
 25
      3967998, at *8 [“Ford and [dealer] Claremont Ford are potentially directly liable to
 26
      the plaintiff class. As such, since Ford is not a citizen of California, it cannot be said
 27
      that all primary defendants are citizens of the state in which the action was filed.
 28
      Therefore, the Court concludes that this exception does not apply.”]; see also
 29
      Kendrick v. Xerox State and Local Sols., Inc., Case No. 18-cv-00213-RS, 2018 WL
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                                                  15
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  1   1605104, *3 (N.D. Cal. Apr. 3, 2018) [if all three defendants were primary
  2   defendants then all three were required to be California citizens for application of the
  3
      home-state controversy exception].)
  4
            The Discretionary Provisions of 28 U.S.C. §1332(d)(3) Do Not Apply
  5
            30.    If Plaintiff made the allegations of the Complaint at ¶ 15 in an attempt to
  6
      meet the requirements of 28 U.S.C. §1332(d)(3)) which governs when a court may in
  7
      its discretion decline to exercise CAFA jurisdiction, Plaintiffs allegations fail to
  8
      address the multiple factors to be considered by the court. Additionally, the threshold
  9
      requirements of this statute are plainly not satisfied because, as set forth above with
 10
      respect to §1332(d)(4)(A) and (B), Plaintiff has not established that (1) one-third but
 11
      less than two-thirds of the members of all proposed plaintiff classes in the aggregate
 12
      are citizens of California (see Paragraphs 22.c. and 25, supra) and (2) the primary
 13
      defendant (i.e., LoanCare), is a citizen of California—it is not (see Paragraph 22.b.,
 14
      supra).
 15
            WHEREFORE, LoanCare amends its notice that Case No. BC723967, which
 16
      was pending in the Superior Court of Los Angeles County, California, was removed
 17
      to this Court.
 18
 19
       Date: November 12, 2018                  HAHN LOESER & PARKS LLP

 20
                                         By:    /s/ Michael J. Gleason
 21                                             Michael J. Gleason, SBN 279434
 22                                             mgleason@hahnlaw.com
 23                                             Attorneys for Defendant LoanCare, LLC
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  1                              CERTIFICATE OF SERVICE
  2         I hereby certify that on November 12, 2018, a copy of the foregoing document
  3
      was electronically filed using the CM/ECF system which will send a notice of
  4
      electronic filing to all CM/ECF participants.
  5
                                                      /s/ Michael J. Gleason
  6                                                   Michael J. Gleason
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